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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION


UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )           CR 119-159
                                             )
HUGH McPHERSON                               )

                                        _________

                                        ORDER
                                        _________


       The Court GRANTS the Government’s motion to dismiss, (doc. no. 26), pursuant to

Rule 48(a) of the Federal Rules of Criminal Procedure.

       SO ORDERED this 14th day of May, 2021, at Augusta, Georgia.
